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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION

SIDNEY NAIMAN, individually and on
behalf of all others similarly situated,            Case No. 4:17-cv-03806-CW

                      Plaintiff,

       v.

TOTAL MERCHANT SERVICES, INC., and
QUALITY MERCHANT SERVICES, INC.,

                      Defendants.


                                  [PROPOSED]
                      FINAL APPROVAL ORDER AND JUDGMENT

       The Parties in this class action lawsuit have moved for final approval of their proposed

class settlement. Dkt. No. 104 (the “Motion”). The Court preliminarily approved the Settlement

Agreement1 on November 13, 2018, Dkt. No. 102, and notice was given to all members of the

Settlement Class under the terms of the Preliminary Approval Order.

       Upon consideration of the Motion, the Settlement Agreement, and the exhibits thereto,

the Court GRANTS final approval of the Settlement, finding specifically as follows:

                                         I.     Jurisdiction

       1.      This Court has jurisdiction over the subject matter of the Action and over all

parties to the Action, including all Settlement Class Members.

                                      II.     Class Definition

       2.      Under Federal Rule of Civil Procedure 23(c), the Court certifies the following


1 Unless otherwise defined herein, all terms used in this Order that are defined terms in the
Settlement Agreement, Dkt. No. 92-1, have the same meaning as set forth in the Settlement
Agreement and the stipulation amending it, Dkt. No. 101-1.
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“Settlement Class,” consisting of:

       All persons within the United States to whom Quality Merchant Services, Inc., Michael
       Alimento, and/or Brian Alimento made a telephone call through the Spitfire dialing
       software and/or system (i.e., an automated telephone dialing system or an artificial or
       prerecorded voice) to any telephone number assigned to a cellular telephone service or
       any service for which the called party is charged for the call for the purpose of promoting
       Total Merchant Services, Inc.’s goods or services from July 5, 2013 through June 8,
       2018. These individuals are identified on the Class List.

       Excluded from the Settlement Class are the following: (i) any trial judge who may
       preside over this Action; (ii) Defendant; (iii) any of the Released Parties; (iv) Class
       Counsel and their employees; (v) the immediate family of any of the foregoing Persons;
       (vi) any member of the Settlement Class who has timely submitted a Request for
       Exclusion by the Objection/Exclusion Deadline; and (vii) any Person who has previously
       given a valid release of the claims asserted in the Action.

                        III.   Class Representative and Class Counsel

       3.      Under Federal Rule of Civil Procedure 23, Sidney Naiman is hereby appointed as

Class Representative.

       4.      The following are hereby appointed as Class Counsel:

                        Edward Broderick
                        Anthony Paronich
                        BRODERICK & PARONICH, P.C.
                        99 High St., Suite 304
                        Boston, Massachusetts 02110
                               -and-
                        Matthew P. McCue
                        THE LAW OFFICE OF MATTHEW P. MCCUE
                        1 South Avenue, Suite 3
                        Natick, Massachusetts 01760
                               -and-
                        Jon Bernhard Fougner
                        600 California Street, 11th Floor
                        San Francisco, CA 94108
                               -and-
                        Andrew Heidarpour
                        Heidarpour Law Firm
                        1300 Pennsylvania Ave NW, 190-318
                        Washington, DC 20004

                                     IV.   Rule 23 Requirements

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       5.      Pursuant to Federal Rule of Civil Procedure 23(a), the Court finds that: (a) the

Settlement Class is so numerous that joinder of all members is impracticable; (b) there are

questions of law or fact common to the Settlement Class; (c) the claims of the Class

Representative, identified above, are typical of the claims of the Settlement Class; and (d) the

Class Representative will fairly and adequately protect the interests of the Settlement Class.

       6.      Pursuant to Rule 23(b)(3), the Court finds that: (A) the questions of law or fact

common to the members of the Settlement Class predominate over the questions affecting only

individual members, and (B) certification of the Settlement Class is superior to other available

methods for the fair and efficient adjudication of the controversy.

                                     V.     Notice and Opt-outs

       7.      The Court finds that, in accordance with the Notice Plan and Rule 23(c)(2)(B), the

Settlement Administrator provided the best notice practicable under the circumstances, including

individual notice to all Class members who could be identified through reasonable effort.

       8.      The Court finds that Defendant properly and timely notified the appropriate state

and federal officials of the Settlement Agreement under the Class Action Fairness Act of 2005

(“CAFA”). See 28 U.S.C. § 1715.

       9.       All persons who made timely and valid requests for exclusion are excluded from

the Settlement Class and are not bound by this Final Approval Order and Judgment. The list of

persons submitting notices seeking exclusion from the Settlement Class, submitted by the

Settlement Administrator pursuant to the Preliminary Approval Order, is hereby accepted as the

list of persons who have made timely and valid requests for exclusion.

                              VI.    Final Approval of the Settlement

       10.     Pursuant to the Settlement Agreement, Defendant has agreed to pay seven million

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five hundred thousand dollars ($7,500,000) to create the Settlement Fund. Amounts awarded to

Class Counsel or the Class Representative will be paid from the Settlement Fund. Class

Members who have submitted a valid claim will receive a share of the Settlement Fund after

attorneys’ fees and costs, Class Representative’s award, and the costs of notice and

administration are deducted. Defendants have also represented that they have taken steps to

ensure compliance with respect to the telemarketing violations alleged in the Second Amended

Complaint, Dkt. No. 41.

       11.     The Court has read and considered the papers filed in support of the Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments

submitted on behalf of Plaintiff, Settlement Class Members, and Defendant. The Court has not

received any objections from any person regarding the Settlement. The Court held a hearing on

April 2, 2019, at which time the parties were afforded the opportunity to be heard in support of

or in opposition to the Settlement. Furthermore, the Court finds that notice under CAFA was

effectuated on September 10, 2018, and that 90 days have passed without comment or objection

from any governmental entity.

       12.     The Court now grants final approval to the Settlement and finds that the

Settlement is fair, adequate, reasonable, and in the best interests of the Settlement Class. This

finding is supported by, among other things, the complex legal and factual posture of the Action,

the fact that the Settlement is the result of arm’s-length negotiations initially presided over by a

neutral mediator, the settlement benefits being made available to Settlement Class Members and

the extremely positive reaction of Class Members: a 9% claim rate versus a 0.006% opt-out rate

and no objections whatsoever.

       13.     The Settlement Administrator shall take all reasonable steps necessary to ensure



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that the settlement is effectuated in a manner consistent with the Settlement Agreement.

       14.     If settlement payments exceed the threshold amounts that must be reported to the

Internal Revenue Service by means of a Form 1099, Class Counsel and the Settlement

Administrator will take all necessary and reasonable steps to obtain W-9’s from claimants and to

comply with applicable IRS regulations on issuing 1099s without a social security number or tax

entity identification number, and shall take all reasonable and necessary steps to avoid

imposition of IRS penalties against the Settlement Fund, including, but not limited to, limiting

payments to be below the reportable threshold and/or withholding of taxes and any applicable

penalties.

       15.     The Court orders the Parties to the Settlement Agreement to perform their

obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as if

explicitly set forth and shall have the full force of an order of this Court.

       16.     The Court dismisses this Action with prejudice and without costs (except as

otherwise provided herein and in the Settlement Agreement).

       17.      On and after the Effective Date, the Releasing Parties, and each of them, are

forever barred and permanently enjoined from directly, indirectly, representatively, or in any

other capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding

against any of the Released Parties in any jurisdiction based on the Released Claims, and the

Releasing Parties are forever barred and permanently enjoined from filing, commencing, or

prosecuting any lawsuit individually or as a class action against any of the Released Parties

(including by seeking to amend a pending complaint to include class allegations or by seeking

class certification in a pending action in any jurisdiction) based on the Released Claims.

       18.     The Court further orders that upon the Effective Date, the above-described



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releases and the Settlement Agreement will be binding on, and have res judicata and preclusive

effect in, all pending and future lawsuits or other proceedings maintained by or on behalf of the

Releasing Parties.

       19.      Without affecting the finality of this Final Approval Order and Judgment in any

way, the Court retains jurisdiction over: (a) implementation and enforcement of the Settlement

Agreement until the final judgment contemplated hereby has become effective and each and

every act agreed to be performed by the parties hereto pursuant to the Settlement Agreement has

been performed; (b) any other action necessary to conclude the Settlement and to administer,

effectuate, interpret, and monitor compliance with the provisions of the Settlement Agreement;

and (c) all parties to this Action and Settlement Class Members for the purpose of implementing

and enforcing the Settlement Agreement.

         VII.    Attorneys’ Fees, Attorney Expenses and Class Representative’s Award

       20.      The Court approves payment of attorneys’ fees, costs, and expenses to Class

Counsel in the amount of $1,875,000 in attorneys’ fees and $20,591.19 in costs. This amount

shall be exclusively paid from the Settlement Fund in accordance with the terms of the

Settlement Agreement. The Court, having considered the materials submitted by Class Counsel

in support of final approval of the Settlement and their request for attorneys’ fees, costs, and

expenses, and having received no objections thereto, finds the award of attorneys’ fees, costs,

and expenses appropriate and reasonable, and the Court notes that the Notice specifically and

clearly advised the Class that Class Counsel would seek the award.

       21.      The Court approves the incentive fee payment of $10,000 for the Class

Representative and specifically finds that amount to be reasonable in light of the service

performed by Plaintiff for the class. This amount shall be exclusively paid from the Settlement



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Fund in accordance with the terms of the Settlement Agreement. Any incentive award will be

reported as “other income” in Box 3 of Form 1099-MISC.

       22.    The Court approves payment of $95,658.28 in administration expenses to the

Settlement Administrator. This amount shall be exclusively paid from the Settlement Fund in

accordance with the terms of the Settlement Agreement.

       23.    Neither this Final Approval Order and Judgment as to Defendant nor the

Settlement Agreement shall be construed or used as an admission or concession by or against

Defendant or any of the Released Parties of any fault, omission, liability, or wrongdoing, or the

validity of any of the Released Claims in any action or proceedings whatsoever. This Final

Approval Order and Judgment is not a finding of the validity or invalidity of any claims in this

Action or a determination of any wrongdoing by Defendant or any of the Released Parties. The

final approval of the Settlement Agreement does not constitute any opinion, position, or

determination of this Court, one way or the other, as to the merits of the claims and defenses of

Plaintiff, the Settlement Class Members, or Defendant.



       The Clerk is hereby directed to enter this Final Approval Order and Judgment.


DATED:                       , 2019
                                                    United States District Court




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